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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No.: 11-cr-4246-WQH
12                                      Plaintiff,
                                                         ORDER
13   v.
14   IGNACIO MANUEL GASTELLO,
15                                  Defendant.
16
17   HAYES, Judge,
18         IT IS HEREBY ORDERED that the unopposed Motion to Terminate Supervised
19   Release (ECF No. 56) is granted.
20   Dated: April 17, 2023
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